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                         THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                                 MCALLEN DIVISION

TEMPLO PENTECOSTES                              §
SINAI-BETHESDA                                  §
      Plaintiff,                                §
                                                §
vs.                                             §      CIVIL ACTION NO. 7:15-CV-192
                                                §
CHURCH MUTUAL                                   §
INSURANCE COMPANY                               §
     Defendants.                                §
                                                §

                                NOTICE OF SETTLEMENT

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       Plaintiff Templo Pentecostes Sinai-Bethesda and Defendant Church Mutual Insurance

Company have reached a settlement in this matter. Plaintiff and Defendant will submit an agreed

motion of dismissal with prejudice within 60 days.

                                                Respectfully submitted,

                                                ZELLE HOFMANN VOELBEL & MASON LLP

                                                By:       /s/ Lindsey P. Bruning
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                                                CHURCH MUTUAL INSURANCE COMPANY


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                                CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of this Notice of Settlement has been served
this 29th day of October 2015 by electronic filing as follows:

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